                                          UNITED STATES DISTRICT COURT
                  Case 2:07-cr-00025-WBS
                                   EASTERN Document 352
                                           DISTRICT OF   Filed 10/12/11 Page 1 of 1
                                                       CALIFORNIA

UNITED STATES OF AMERICA                                  )
                                                          )        Case. No. 2:07-CR-00025 EJG
                 v.                                       )
                                                          )
KEVIN TRAN                                                )


                                 APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       () Ad Prosequendum                                (X) Ad Testificandum

Name of Detainee:        KEVIN TRAN
Detained at (custodian):
Detainee is:             a.)   () charged in this district by:  () Indictment () Information () Complaint
                                  charging detainee with:
                or       b.)   (X) a witness not otherwise available by ordinary process of the Court

Detainee will:           a.)     (X) return to the custody of detaining facility upon termination of proceedings
                 or      b.)     () be retained in federal custody until final disposition of federal charges, as a sentence is
                                 currently being served at the detaining facility

        Appearance is necessary FORTHWITH in the Eastern District of California.

                                 Signature:                        /s/ HEIKO P. COPPOLA
                                 Printed Name & Phone No:          HEIKO P. COPPOLA , Tel: 916-554-2700
                                 Attorney of Record for:           United States of America

                                           WRIT OF HABEAS CORPUS
                         () Ad Prosequendum                  (X) Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Date: October 12, 2011                                                           /s/ Carolyn K. Delaney
                                                                 _____________________________________________
                                                                 Hon. CAROLYN K. DELANEY
                                                                 United States District/Magistrate Judge
________________________________________________________________________________________________
Please provide the following, if known:
AKA(s) (if applicable):           KEVIN TRAN                                     Sex: Male
Booking or CDC #:                 90173-111                                      DOB:
Facility Address:                 FCI Herlong Federal Correctional Institution   Race: ASIAN
                                 741-925 Access Road A-25                        FBI #:
                                 Herlong, CA 96113
Facility Phone:                   (530)827-8000
Currently Incarcerated For:      Conspiracy and Manufacturing at Least 1,000 Marijuana Plants.
                                                   RETURN OF SERVICE

Executed on      ____________________________                      By: ___________________________________________________
                                                                       (Signature)
